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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 vs.                                              §            Case No. 4:07cr185
                                                  §            Case No. 4:08cr117
                                                  §            (Judge Crone)
 VU VAN DOAN                                      §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

         Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on March 17, 2014, to determine whether Defendant violated his supervised

 release.

         On February 12, 2009, Defendant was sentenced by the Honorable Marcia A. Crone in both

 cases. In Case No. 4:08cr117, Defendant was sentenced to forty-seven (47) months’ custody

 followed by four (4) years of supervised release for the offense of Distribution of Methamphetamine.

 In Case No. 4:07cr185, Defendant was also sentenced to forty-seven (47) months’ custody followed

 by four (4) years of supervised release for the offense of Conspiracy to Distribute Methamphetamine,

 Cocaine, and 3,4-Methylenedioxy-methamphetamine. The sentences were to run concurrently. On

 May 29, 2012, Defendant completed his period of imprisonment and began service of his supervised

 term.

         On February 10, 2014, the U.S. Probation Officer executed two identical Petitions for

 Warrant for Offender Under Supervision for each case. The petitions asserted that Defendant

 violated various mandatory, standard, and special conditions.

         The petitions allege that Defendant committed the following acts with regard to the
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 violations: (1) Defendant submitted delinquent monthly supervision reports for the months of July,

 August, October, November, and December 2013. Defendant failed to submit a monthly report for

 the month of September 2013, and, as of the date of the petitions, failed to submit a monthly report

 for the month of January 2014; (2) Defendant was arrested on August 8, 2013, after leaving a

 residence where illegal drugs were being sold or distributed. The arresting officers also discovered

 bundles of U.S. currency in varying denominations in white envelopes with numbers on the outside

 of the envelopes, which they believed was consistent with illegal drug trafficking.; (3) Defendant

 failed to notify the U.S. Probation Officer of his arrest on August 8, 2013, within 72 hours. He did

 not inform this officer of said arrest until August 24, 2013, during a home visit; (4) and Defendant

 failed to report to the U.S. Probation Office in Plano, Texas, for drug testing on December 4, 2013,

 and December 30, 2013.

        Prior to the Government putting on its case, Defendant entered a plea of true to violation

 four, five, six, and seven. Violation allegations one, two, and three were dismissed by the

 Government.

                                     RECOMMENDATION

        The Court recommends that the District Judge revoke Defendant’s supervised release on both

 cases. Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be

 committed to the custody of the Bureau of Prisons to be imprisoned for a term of eight (8) months

 with no supervised release to follow for each case and that the sentences be served consecutively.

 It is also recommended that Defendant be housed in the Bureau of Prisons, Big Springs Unit.

        After the Court announced the recommended sentence, Defendant executed the consent to

 revocation of supervised release and waiver of right to be present and speak at sentencing.

 Defendant and the Government also waived their right to file objections.
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      SIGNED this 18th day of March, 2014.




                               ___________________________________
                               AMOS L. MAZZANT
                               UNITED STATES MAGISTRATE JUDGE
